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                     EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 MELISSA GALE,                                 §
                                               §
               Plaintiff,                      §
                                               §
 v.                                                   Civil Action No. 5:22-cv-01329-XR
                                               §
 MISSION HOSPICE OF SAN ANTONIO,               §
                                               §
 LLC,                                          §
               Defendant.                      §




                            DECLARATION OF MELISSA GALE


STA TE OF TEXAS                      §
                                     §
COUNTY OF BEXAR                      §


       My name is Melissa Gale, I am over the age of eighteen, am competent to testify, and have
personal knowledge of the following:

       I.     I commenced work as the Quality Assurance Manager of Mission Hospice in April
              of 2022, approximately three weeks after Mission started admitting patients. The
              administrator was James "Rusty" Hughes. The Director of Nursing was Troi
              Woolridge. I understand that Mission Hospice was owned by several investors . I
              further understand that the investor with the largest share of ownership was Nick
              Ortega.

       2.     Jn just five or six weeks of commencing operations, Mission Hospice had enrolled
              approximately forty patients into its hospice service. Approximately half of tho se,
              perhaps more, did not qualify for service under the applicable Medicare rules.
              Many patients lacked clinical documentation necessary for enrollment in hospice.
              Others simply did not qualify based on their admitting diagnoses. The Company
              often used a catch-all diagnosis of end-stage heart failure.

       3.     Indeed, as early as the week of April 25 , I was informed-in response to my report
              that I had discovered a patient who had been admitted without required clinical
              documentation-that they do not have non-admits, as everyone is admitted because
              everyone deserves hospice. The director of nursing made a similar statement to me
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      during the week of May 9, when he stated that he had been instructed by Frankie
      Mireles, the "President of Marketing and Sales" and a minority investor, to admit
      everyone. Mr. Mireles confirmed this " rule" himself during the week of May I 6,
      when he told me, among other things, that he is running the business and that he
      decides who is admitted onto the hospice service. The administrator commented to
      me that he was willing to admit everyone to avoid a confrontation with Mr. Mireles.

4.    This was, however, not the only type of Medicare violation engaged in by Mission
      Hospice. I also observed that Mission Hospice failed to conduct proper background
      and license checks with respect to some employees. For instance, one nurse aide
      was working with an expired license. This too vio lated Medicare rules . Then there
      was the issue of Mission enticing patients to enroll in its hospice service with
      promises to pay for all of those patients ' medications, not just those related to the
      terminal illness. The same held true regarding supplies.

5.    Mission Hospice contracted with a medical director who did not seem to take his
      job seriously in all respects. The medical director failed to conduct proper lDG
      meetings, including not reviewing all patients during IDG meetings and not timely
      signing required medical orders.

6.    I also observed failures by Mission's staff to comply with Medicare regulations
      regarding the preparation and implementation of patient plans of care as well as the
      frequency of nursing visits, which were not being complied with in some cases.

7.    I reported and complained of each of these illegal actions. I repeatedly complained
      to the administrator, the director of nursing, the alternate director of nursing, and to
      Mr. Mireles regarding the above-referenced conduct. I specifically complained that
      the Hospice's actions vio lated the Medicare rules, that the actions were illegal , and
      may constitute fraud against the government. I was told that this was none of my
      business and that I needed to "stay in my lane."

8.    Thereafter, I complained to some of the investors about what I was observing, again
      repeating that Mission 's actions violated applicable Medicare rules and that the
      conduct could be considered fraud. Management and Mr. Mirales questioned me
      about what I had talked about with the investors. On or about June 23 , Mr. Mirales
      remarked that if he was fired he would take the patients and the physicians with
      him. Mr. Mirales also reiterated that all patients deserve hospice and no one should
      not be admitted. On the following day, Mr. Mirales stated to me that there were "a
      lot of snakes in the office," which I took as an ominous reference to my complaints
      to the investors.

9.    On Friday, July 8, I was confronted by Mr. Mireles, who was irate with me because
      of my complaints regarding Medicare violations. Specifically, Mr. Mireles was
      furious because, due to my complaints, Mission was going to have to discharge
      patients because they did not qualify for hospice under Medicare rules. In Mr.
      Mireles' words, "someone has gotten too big for their britches."
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I 0.   On or about July I 0, 2022, the Company discharged its medical director. On July
       15, 2022, I was terminated from employment. The justification given to me was
       that Nick Ortega, one of the investors in Mission Hospice, was now Mission ' s sole
       owner.

1 I.   I thereafter learned that the medical director had been rehired and that other
       individuals who had previously been discharged/demoted for engaging in actions
       that violated Medicare rules were rehired . In the case of Mr. Hughes, he was re-
       promoted to the position of administrator.

12.    I have not been able to replace my employment with Mission Hospice. My rate of
       pay while employed by Mission Hospice was $89,000 per year, which translates to
       $I ,711.54 per week. Thirty-three weeks have passed since I was discharged. Thus,
       my lost wages to March 2, 2023 are $56,480 .82.

I 3.   I have suffered substantial emotional distress in this case. I am diagnosed with
       anxiety and is prescribed Lorazepam . Since my discharge, I have suffered, and
       continue to suffer from, substantial disruptions in my sleep. I frequently wake from
       my sleep due to the anxiety and distress I suffered from my termination. Due to
       my termination, I've becomes very anxious when leaving my home because l fear
       encountering people I know. I worry that acquaintances will ask me about my
       employment with Mission Hospice, which would cause me to have to explain why
       I am no longer employed.




I declare under penalty of perjury that the foregoing is true and correct.

Signed this 2nd day of March 2023.




                                              Melissa Gale
